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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

  DAVID POSCHMANN,

                   Plaintiff,
  v.
                                                          CASE NO.

  SCORPIO INTERNATIONAL
  BUSINESS CORPORATION,

              Defendant.
  _________________________________/

                                              COMPLAINT

          Plaintiff, David Poschmann, by and through his undersigned counsel, hereby sues the

  Defendant, Scorpio International Business Corporation, for injunctive relief pursuant to the

  Americans With Disabilities Act, 42 U.S.C. §12181, et seq. (the "ADA") and in support thereof

  states as follows:

                                            JURISDICTION

              1.   This court has subject-matter jurisdiction since this action arises pursuant to 28

  U.S.C. § 1331 and §1343 and Plaintiff’s claims arise under 42 U.S.C. §12181 et seq. based upon

  Defendant's violations of Title III of the ADA.

                                                  VENUE

              2.    Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b) (2) because a

  substantial part of the events or omissions giving rise to the claim occurred in this district and the

  facility, whose online reservation system is at issue herein, is situated in this district.

                                                PARTIES

              3.   Plaintiff, David Poschmann, is an individual who is over eighteen years of age

  and sui juris. Plaintiff is disabled as such term is defined by the ADA and is substantially limited
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  in performing one or more major life activities due to the amputation of his right leg in 2012.

  Plaintiff uses a wheelchair to ambulate. Plaintiff drives his own specially equipped vehicle and

  has a valid disabled parking permit from the Florida Department of Highway Safety and Motor

  Vehicles. Defendant's online lodging reservation system fails to comply with any of the

  requirements of 28 C.F.R. §36.302(e) and therefore Plaintiff's full and equal enjoyment of the

  goods, services, facilities, privileges, advantages and/or accommodations offered thereon are

  restricted and limited because of Plaintiff’s disability and will be restricted in the future unless

  and until Defendant is compelled to cure the substantive ADA violations contained on its online

  reservation system. Plaintiff intends to visit the online reservation system for Defendant's inn in

  the near future, and within thirty (30) days, to book a room and utilize the goods, services,

  facilities, privileges, advantages and/or accommodations being offered and/or to test the online

  reservation system for compliance with 28 C.F.R. §36.302(e).

           4. Defendant is the owner and operator of the Atlantic Shores Vacation Villas located

  at 100 Bamboo Road in Palm Beach Shores, Florida ("the Atlantic"). The online reservation

  system for the Atlantic is found at www.atlanticshoresvacation.com.

                    CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

           5.    On July 26, 1990, Congress enacted the ADA explaining that the purpose of the

  ADA was to provide a clear and comprehensive national mandate for the elimination of

  discrimination against individuals with disabilities and to provide clear, strong, consistent,

  enforceable standards addressing said discrimination, invoking the sweep of congressional

  authority in order to address the major areas of discrimination faced day-to-day by people with

  disabilities to ensure that the Federal government plays a central role in enforcing the standards

  set by the ADA. (42 U.S.C. § 12101(b)(1)-(4)).




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              6.    Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

  Department of Justice, Office of the Attorney General, published revised regulations for Title III

  of the Americans With Disabilities Act of 1990 in the Federal Register to implement the

  requirements of the ADA. Public accommodations, including places of lodging, were required to

  conform to these regulations on or before March 15, 2012.

              7.    On March 15, 2012, new regulations implementing Title III of the ADA took

  effect, imposing significant new obligations on inns, motels, hotels and other "places of

  lodging". 28 C.F.R. §36.302(e) states:

          ''(1) Reservations made by places of lodging. A public accommodation that owns, leases
  (or leases to), or operates a place of lodging shall, with respect to reservations made by any
  means, including by telephone, in-person, or through a third party -
  (i) Modify its policies, practices, or procedures to ensure that individuals with disabilities can
  make reservations for accessible guest rooms during the same hours and in the same manner
  as individuals who do not need accessible rooms;
  (ii) Identify and describe accessible features in the hotels and guest rooms offered through its
  reservations service in enough detail to reasonably permit individuals with disabilities to assess
  independently whether a given hotel or guest room meets his or her accessibility needs; 1
  (iii) Ensure that accessible guest rooms are held for use by individuals with disabilities until all
  other guest rooms of that type have been rented and the accessible room requested is the only
  remaining room of that type;
  (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms and ensure
  that the guest rooms requested are blocked and removed from all reservations systems; and
  (v) Guarantee that the specific accessible guest room reserved through its reservations service is
  held for the reserving customer, regardless of whether a specific room is held in response to
  reservations made by others."



  1 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
  Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
  provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
  Justice's official comments state that "information about the Hotel should include, at a minimum, information about
  accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
  route to the accessible room or rooms. In addition to the room information described above, these hotels should
  provide information about important features that do not comply with the 1991 Standards." An agency's
  interpretation of its own regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1),
  must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
  the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed.2d 405 (1994).


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          8. The Atlantic is a place of public accommodation that owns and/or leases and

  operates a place of lodging pursuant to the ADA. The Atlantic has an online reservation system

  whereby potential patrons may reserve a room. The reservation system is subject to the

  requirements of 28 C.F.R.§ 36.302(e) and Defendant is for said compliance.

          9.   Most recently, during June, 2021 Plaintiff attempted to specifically identify and

  book a guaranteed reservation for an accessible room at the Atlantic through the Atlantic’s online

  reservation system but was unable to do so due to Defendant's failure to comply with the

  requirements set forth in paragraph 7.

         10.   Plaintiff is an advocate of the rights of similarly situated disabled persons and,

  pursuant to Houston v. Marod Supermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a "tester"

  for the purpose of asserting his civil rights, monitoring, ensuring, and determining whether

  places of public accommodation, including online reservation systems for places of lodging, are

  in compliance with the ADA.

         11.   Defendant has discriminated against Plaintiff by denying him access to and full and

  equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations

  offered through the Atlantic’s online reservation system due to the substantive ADA violations

  contained thereon.

         12. The online reservation system for the Atlantic encountered by Plaintiff when he

  visited it failed to comply with any of the requirements of 28 C.F.R.§ 36.302(e)(1). When

  Plaintiff visited the Atlantic's online reservation system, he tried to make a reservation for an

  accessible room at the Atlantic, since he requires an accessible room due to the amputation of his

  right leg, but it was not possible to make such a reservation. It was possible to reserve a room

  that was not accessible. For this reason Defendant has no policy, practice, or procedure in place




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  to ensure that individuals with disabilities can make reservations for accessible rooms during the

  same hours and in the same manner as individuals who do not need accessible rooms. This

  constitutes a violation of 28 C.F.R.§ 36.302(e)(1)(i). When Plaintiff visited the Atlantic's online

  reservation system, he searched the site for the identification and descriptions of accessible

  features at the Atlantic and rooms offered through the reservation service so that he could assess

  independently whether the Atlantic or a specific room at the Atlantic met his accessibility needs

  in light of his disability but the reservations service contained no such descriptions at all. This

  constitutes a violation of 28 C.F.R.§ 36.302(e)(1)(ii). In light of the foregoing, Defendant also

  necessarily violated 28 C.F.R. §36.302(e)(1)(iii)-(v) in that since the online reservations service

  does not describe any accessible room and does not, in turn, allow the reserving of such

  accessible room, the Website cannot hold such unavailable accessible rooms in the reservations

  system until all other units have been rented, block such unavailable accessible rooms from the

  system once reserved, and guaranty that such unavailable accessible rooms will be held for the

  reserving customer as required by sections (iii) - (v) respectively.

        13. Plaintiff is without an adequate remedy at law and is suffering irreparable harm and

  he reasonably anticipates that he will continue to suffer irreparable harm unless and until

  Defendant is required to correct the ADA violations to the online reservations system for the

  Atlantic and maintain the online reservations system and accompanying policies in a manner that

  is consistent with and compliant with the requirements of 28 C.F.R. §36.302(e).

         14.   Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action and is entitled to recover reasonable attorneys’ fees, costs and expenses from Defendant,

  including litigation expenses and costs pursuant to 42 U.S.C. §12205.




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          15. Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority to grant

  injunctive relief to Plaintiff, including an Order compelling Defendant to implement policies,

  consistent with the ADA, to accommodate the disabled, by requiring Defendant to alter and

  maintain its online reservations system in accordance with the requirements set forth in

  paragraph 7 above.2

           WHEREFORE, Plaintiff, David Poschmann, requests that the Court issue a permanent

  injunction enjoining Defendant from continuing its discriminatory practices, ordering Defendant

  to implement policies, consistent with the ADA, to accommodate the disabled, through requiring

  Defendant to alter and maintain the online reservations system for the Atlantic in accordance

  with the requirements set forth in paragraph 7 above, and awarding Plaintiff reasonable

  attorneys’ fees, litigation expenses, including expert fees, and costs.

                                                                 s/Drew M. Levitt
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  2 The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
  enforce, a policy requiring regular monitoring of its online reservations system. As rates and classes of rooms at the
  Atlantic and the number and type of rooms, beds, accommodations and amenities offered in the various unit types
  change from time to time, the availability of accessible units must be re-dispersed across these various price points,
  classes, as well as across units with disparate features (2010 ADA Standard 224.5). In light of the foregoing, in
  addition to regular ongoing website maintenance and to reflect physical changes at the Atlantic, the online
  reservations system must continuously be updated to properly reflect and describe Defendant's compliance with the
  substantive ADA Standards regarding accessible rooms in accordance with 28 C.F.R. 36.302(e)(1).


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